AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                   Page I of     4      Pages



                                       UNITED STATES DISTRICT COURT
                                                                     for the                               FILED IN OPt!N COURT
                                                       Eastern-District of North Carolina                  ON. '&/~,,~~'-{ ~ _
                                                                                                              Peter A. Moore, Jr., Clem
                                                                                                              us Dlflmct Court
                                                                                                              ~e,-'·ern Di~J.rict of NC
                   United States of America                             )
                                  V.                                    )
              GEORGE WILLIAM TAYLOR, JR.                                )        Case No. 7:24-CR-60-1 M
                                                                        )
                              Defendant
                                                                        )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant, must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:                          United States District Court - Wilmington
                                                                                            Place
                                                            2 Princess St. Wilmington, NC 28412

      on
                                                                       Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
AO 199B (Rev. 12/20) Additional Conditions of Release                                                                            Page_:_ of ~ Pages


                                                 ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(l)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

        IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( D)     (6)The defendant is placed in the custody of:
            Person ot organization
            Address (only if above is an organization)
            City and state _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                             Tel. No. _ _ _ _ _ _ _ _ _ _ _ _ __
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                      Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                           Custodian                                          Date
(D )     (7) The defendant must:
       ( D ) (a) submit to supervision by and report for supervision to the
                 telephone number        _ _ _ _ _ _ _ , no later than
       ( D) (b) continue or actively seek employment.
       ( D ) (c) continue or start an education program.
       ( ~ ) (d) surrender any passport to:       U,'S' . ~ Q.o'6~"t \Q t'4 0 F F I '-'
       ( 12) (e) hot obtain a passport or other international travel document.
       ( D ) (f) abide by the following restrictions on personal association, residence, or travel:

       ( D) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                including:

       ( D ) (h) get medic~! or psychiatric treatment:

       ( D) (i) return to custody each       at      o'clock after being released at _ _ _ _ _ o'clock for employment, schooling,
                                       -----    ----
                or the following purposes:

        ( D ) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                  necessary.
        ( D ) (k) not possess a firearm, destructive device, or other weapon.
        ( D ) (I) not use alcohol ( D ) at all ( D ) excessively .
       .( D) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S:C. § 802, unless prescribed by a licensed
                  medical practitioner.
        ( D ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                  random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                  prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                  of prohibited substance screening or testing.
        ( D) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pr\':trial services office or
                  supervising officer.
        ( D) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                  ( D ) (i) Curfew. You are restricted to your residence every day ( D ) from _ _ _ _ _ to _____ , or ( D ) as
                                directed by the pretrial services office or supervising officer; or
                  ( D ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                               medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                               activities approved in advance by the pretrial services office or supervising officer; or
                  ( D ) (iii) ·Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court; or
                  ( D ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                               you must comply with the location or travel restrictions as imposed by the court.
                               Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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                                                 ADDITIONAL CONDITIONS OF RELEASE

      ( 0) (q) submit to the following location monitoring technology and comply with its requirements as directed:
               (0) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
               (0 ) (ii) Voice Recognition; or
               (0 ) (iii) Radio Frequency; or
               (0 ) (iv) GPS.
      ( 0 ) (r) pay ali or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                  officer.
      ( 0 ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                  questioning, or traffic stops.                                   r--::,
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"        .
    • AO I 99C (Rev. in ED/NC on 6/11/14) Advice of Penalties                                                       Page      4       of   4   Pages

                                                  ADVICE OF PENALTIES AND SANCTIONS

     TO THE DEFENDANT:

     YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

            Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
     revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
     imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
     and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
     consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
     tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
     to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
     significantly more serious if they involve a killing or attempted killing.
            If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
     you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
            (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
                  not more than $250,000 or imprisoned for not more than 10 years, or both;
            (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
                  more than $250,000 or imprisoned for not more than five years, or both;
            (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
            (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
            A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
     addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                           Acknowledgment of the Defendant

            I acknowledge that I am the. defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
     of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                  City and State



                                                       Directions to the United States Marshal

     (       ) The defendant is ORDERED released after processing.
     (       ) The United States marshal is ?RD~RED to keep th~ ~efendant in custody ~n!il notified by the clerk or judge that the defendant
               has posted bond and/or comphed with all other cond1t1on    lease. If still m custody, th·e defendant must be produced before
               the appropriate judge at the time and place specifi


     Date:     0 \ °2,\ \ -Z...O"'L ~
              --~---------
                                                                                            Judicial Officer's Signature

                                                                        Richard E. Myers II, Chief United States District Judge
                                                                                              Printed-name and title




                          DISTRIBUTION:       COURT       DEFENDANT   PROBATION OFFICE        U.S. ATTORNEY            U.S. MARSHAL
